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                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

GROVANO INC., Individually and on
Behalf of All Others Similarly Situated,

                           Plaintiffs,

V.                                                              SA-24-CV-63 I -JKP (HJB)

ROCKET ENTERPRISES, LLC,

                           Defendant.

                        CONSENT ADVISORY TO THE CLERK OF COURT

           The undersigned party in the above captioned case elects as follows (jlease select only one

of the following options):

               I Consent to Proceed Before A United States Magistrate Judge in accordance with
               provisions of 28 U.S.C. 636. The undersigned party in the above captioned case
               waives the right to proceed before a United States District Judge and consents to have
               a United States Magistrate Judge conduct any and all further proceedings in this case,
               including rendering a decision, and to order the entry of final judgment. Any appeal
               must be taken to the United States Court of Appeals for the Fifth Circuit in accordance
               with 28 U.S.C. § 636(c)(3).

           o 1 Do Not Consent to Proceed Before A United States Magistrate Judge. The
               undersigned party in the above captioned case elects not to have this case decided by a
               United States Magistrate Judge, and prefers that this case proceed before the District
               Judge.

                      J çJ                                     Dated:     '1;     ,   2O2.
           Paja)'   Ne (lrinted)
     By:      J////
           Sig&tf frkttorney or Pro Sc Party
